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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF RHODE ISLAND


JOHN DOE,
                   Plaintiff,

v.                                                                C.A. NO.: 17-191-JJM-LDA

BROWN UNIVERSITY,
         Defendant.


                       STIPULATION EXTENDING TIME FOR PARTIES’
                      SERVICE OF THEIR DISCOVERY RESPONSES AND
                                     OBJECTIONS

           Plaintiff John Doe and Defendant Brown University stipulate that the parties shall have

up to and including November 30, 2018 to serve their responses and any objections to the

following pending discovery requests:

           1.      Plaintiff’s First Request for Production of Documents;

           2.      Plaintiff’s Second Request for Production of Documents;

           3.      Plaintiff’s First Set of Interrogatories;

           4.      Defendant’s First Request for Production of Documents; and

           5.      Defendant’s First Set of Interrogatories.



JOHN DOE                                                BROWN UNIVERSITY,

By his Attorneys,                                       By Its Attorneys,

/s/ Susan Kaplan                                        /s/ Steven M. Richard
/s/ Sonja J. Deyoe                                      /s/ Thomas R. Bender
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                                           Dated: November 5, 2018




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